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Western District of Tennessee 05 AUG l AH 6‘ 5|
UNITED sTATEs oF AMERICA q£g§i§§q?g§vg&%m
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v. CaseNumber 2:03CR20191-01-Ma

BENORIA ANN BELL

JUDGMENT AND COMMITMENT ORDER
ON REVOCATION OF SUPERVISED RELEASE

(For Oll`enses Commjlted On or Aftcr Novcmher 1, 1987)

The defendant, BENORIA ANN BELL, was represented by Ms. Mary Catherine Jermann.

It appearing that the defendant, who was sentenced in the above-styled cause by the
Hon. Jeau C. Hamilton, U.S. District Court, Eastern District of Missouri (St. louis) on March 2,
2001, and was placed on supervised release for a period of five (5) years, has violated the terms of
her supervision, it is hereby ORDERED and ADJUDGED that defendant’s supervised release be
revoked and that defendant be committed to the custody of the United States Bureau of Prisons to
be imprisoned for a term of six (6) months

The defendant is remanded to the custody of the United States Marshal.
Upon release from confinement, the defendant shall be placed on further Supervised Release
for a period of three (3) years The previous conditions of defendant’s supervision are re-

imposed. The defendant shall comply with the standard conditions of supervised release as set forth
on Page 2 of this Judgment.

signed this l sHay orAugusr, 2005.

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SAMUEL H. MAYS, JR.
United States District Judge

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DEFENDANT: BENORIA ANN BELL
CASF. NUMBER: 2:03CR20] 91-01-Ma

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STANDARD CONDITIONS OF SUPERVISION

The defendant shall not commit another federa], state, or local crime.

The defendant shall not illegally possess a controlled substance

The defendant shall not possess a firearm or destructive device.

The defendant shall not leave the judicial district without the permission of the court or probation officer;

The defendant shall report to the probation officer as directed by the court or probation officer and shall submit a truthful
and complete written report within the first five days of each month',

The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
officer',

The defendant shall support his or her dependents and meet other family responsibilities;

The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training,
or other acceptable reasons;

The defendant shall notify the probation officer within seventy-two hours of any change in residence or employment;

The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute or administer
amy narcotic or other controlled substance, or any paraphernalia related to such substances except as prescribed by a
physician;

The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
convicted of a felony unless granted permission to do so by the probation officer;

The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
confiscation of any contraband observed in plain view by the probation officer;

The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
enforcement officer;

The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
without the permission of the court;

As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
defendant’s criminal record or personal history or characteristics7 and shall permit the probation officer to make such
notifications and to confirm the defend ant’s compliance with such notification requirement

 

Notice of Distribution

This notice confirms a copy of the document docketed as number l7 in
case 2:03-CR-2019l Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

 

 

Mary Catherine Jermann
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U.S. ATTORNEY'S OFFICE
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Honorable Samuel Mays
US DISTRICT COURT

